     Case 1:09-cv-00430-AWI-EPG Document 250 Filed 03/02/16 Page 1 of 3


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12

13
                                  UNITED STATES DISTRICT COURT
14
                                EASTERN DISTRICT OF CALIFORNIA
15
                                            FRESNO DIVISION
16

17
   GERALD CARLIN, JOHN RAHM, PAUL                          CASE NO. 1:09 CV 00430 -AWI (EPG)
18 ROZWADOWSKI and DIANA WOLFE,
   individually and on behalf of themselves and            STIPULATION AND ORDER
19 all others similarly situated,                          _______________

20                  Plaintiff and Respondent,

21          v.

22 DAIRY AMERICA, INC.,

23                  Defendants.

24

25
            Plaintiffs, individually and on behalf of themselves and all others similarly situated
26
     (“Plaintiffs”), and Defendant DairyAmerica, Inc. (“DairyAmerica”), by and through their
27
     respective attorneys of record, (collectively the “Parties”) hereby stipulate to the following:
28
                                                       1
     STIPULATION RE DAIRYAMERICA’S DEADLINE TO RESPOND TO THIRD AMENDED COMPLAINT
     Case No. 1:13-cv-00666-AWI (EPG)
     Case 1:09-cv-00430-AWI-EPG Document 250 Filed 03/02/16 Page 2 of 3


 1                                               RECITALS
 2          Whereas the Parties wish to coordinate the initial filing, opposition, reply and hearing dates

 3 in relation to Defendants DairyAmerica’s and California Dairies Inc.’s (“CDI”) Motions to

 4 Dismiss the Third Amended Complaint in order to efficiently manage the Court’s and Counsels’

 5 resources;

 6          Whereas counsel for the Parties and CDI are negotiating a stipulation for this purpose and

 7 anticipate filing this soon; and

 8          Whereas the current deadline for DairyAmerica to respond to the Third Amended

 9 Complaint is February 29, 2016, and Plaintiffs have agreed to provide DairyAmerica an interim

10 extension while the aforementioned stipulation is finalized.

11                                             STIPULATION
12          Therefore, IT IS HEREBY STIPULATED AND AGREED, by the Parties, through their

13 respective counsel of record, as follows:

14      1. DairyAmerica’s Motion to Dismiss Plaintiffs’ Third Amended Complaint, and all papers in

15          support of the same, are due filed and served on or before March 2, 2016;

16      2. It is anticipated that the Parties and CDI will file a further stipulation coordinating the

17          deadlines for the initial filing, opposition, reply and hearing dates in relation to Defendants

18          DairyAmerica’s and CDI’s Motions to Dismiss the Third Amended Complaint.
19
     Dated: February 29, 2016                              Respectfully submitted,
20
            /s/ Allison Davis                               /s/ Benjamin Brown
21

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     STIPULATION RE DAIRYAMERICA’S DEADLINE TO RESPOND TO THIRD AMENDED COMPLAINT
     Case No. 1:13-cv-00666-AWI (EPG)
     Case 1:09-cv-00430-AWI-EPG Document 250 Filed 03/02/16 Page 3 of 3


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10
                                                    Counsel for Plaintiffs and the Proposed
11                                                  Class

12

13                                                 ORDER
14 The Courts adopts the parties’ stipulation as follows:

15      1. DairyAmerica’s Motion to Dismiss Plaintiffs’ Third Amended Complaint, and all papers in
16          support of the same, are due filed and served on or before March 2, 2016;
17      2. It is anticipated that the Parties and CDI will file a further stipulation coordinating the
18          deadlines for the initial filing, opposition, reply and hearing dates in relation to Defendants
19          DairyAmerica’s and CDI’s Motions to Dismiss the Third Amended Complaint.
20

21 IT IS SO ORDERED.

22
     Dated: March 1, 2016
23                                                SENIOR DISTRICT JUDGE

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                                                       3
     STIPULATION RE DAIRYAMERICA’S DEADLINE TO RESPOND TO THIRD AMENDED COMPLAINT
     Case No. 1:13-cv-00666-AWI (EPG)
